       Case 3:20-cr-00063-PAD-MDM Document 40 Filed 04/12/21 Page 1 of 2



                       In the United States District Court
                         For the District of Puerto Rico


    United States of America,
              Plaintiff,
                vs.,
   Luis M. Pulido-Villalva [05],           Criminal No.: 20 – 063 (PAD)[05]
            Defendant.



                           Motion for Change of Plea

To the Honorable Pedro A. Delgado

     Comes now the defendant Luis M. Pulido-Villalva (hereinafter “Mr.

Pulido-Villava”), represented by the Federal Public Defender for the District

of Puerto Rico through the undersigned attorney, and very respectfully

moves the Court as follows:

     Mr. Luis M. Pulido-Villalva, after due considerations of his

Constitutional rights as pertaining to trial, informed counsel of his

decision to change his previously entered not guilty plea to one of guilty.

Mr. Luis M. Pulido-Villalva will plead to the 2 Counts of the Indictment

filed against him pursuant to a “straight plea.”

     Mr. Luis M. Pulido-Villalva very respectfully moves for the scheduling

of a hearing where he can change his previously entered plea of not guilty

to one of guilty.
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       Case 3:20-cr-00063-PAD-MDM Document 40 Filed 04/12/21 Page 2 of 2




     Wherefore, Mr. Luis M. Pulido-Villalva requests that this Honorable

Court take notice of the above-mentioned and set this case for a Change

of Plea Hearing.

     I hereby certify that on this date, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to the parties of record.

                           Respectfully submitted.

          In San Juan, Puerto Rico, this 12th day of April 2021.

                                       Eric Alexander Vos
                                       Chief Defender
                                       District of Puerto Rico

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                                       Vivian Torralbas-Halais
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